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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

WALEED ALZAHRANI,                                    )
                                                     )
                              Plaintiff,             )
                                                     )
                         v.                          )       No. 1:17-cv-04128-TWP-MJD
                                                     )
INDIANA UNIVERSITY,                                  )
INDIANA UNIVERSITY-PURDUE                            )
UNIVERSITY INDIANAPOLIS,                             )
BRIAN TOMLINSON,                                     )
JASON SPRATT,                                        )
MARIA HINTON,                                        )
                                                     )
                              Defendants.            )

                             SCHEDULING ORDER
                   HON. MAGISTRATE JUDGE MARK J. DINSMORE

       This matter is scheduled for a telephonic initial pretrial conference on Monday, January

29, 2018 at 4:30 p.m. (Eastern). Counsel shall attend the conference by calling the designated

telephone number, to be provided by the Court via email generated by the Court’s ECF system.

The parties shall file a proposed Case Management Plan (“CMP”) no fewer than seven days before

the pretrial conference. Unless the parties agree there are compelling reasons for a departure, the

CMP shall be in the format set forth in the model CMP found on the Court’s website

(www.insd.uscourts.gov).

       In advance of the initial pretrial conference, counsel shall also plan for discovery and

conduct the conference required by Fed. R. Civ. P. 26(f). Represented parties shall attend the

initial pretrial conference by counsel. Clients are not required (but are permitted) to attend this

conference.

       Counsel who attend the conference must have their appearance on file. At the conference,

counsel should be prepared to discuss the issues addressed in the ESI Supplement to Case

Management Plan found on the Court’s website, in addition to:
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       1. How exhibits will be identified during the discovery process consistent with the Court's
          trial procedures;

       2. The types and number of witnesses the parties anticipate may provide evidence under
          Federal Rule of Evidence 702, 703 or 705;

       3. Any issues anticipated at the outset regarding the scope or nature of discovery
          anticipated in the case;

       4. Any anticipated deviations from the established limitations on discovery;

       5. Any anticipated need for the entry of a protective order in the matter; and

       6. How soon the parties anticipate being in a position to discuss settlement of the matter
          and what specific items of discovery need to be completed prior thereto, and how that
          necessary discovery can be accomplished as quickly and efficiently as possible.


       SO ORDERED.



       Dated: 1 DEC 2017




 Distribution:

 Service will be made electronically
 on all ECF-registered counsel of record
 via email generated by the Court’s ECF system.
